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                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION



  ULTRAVISION TECHNOLOGIES, LLC

                        Plaintiff,

  v.

  LAMAR ADVERTISING COMPANY,
  LAMAR MEDIA CORP., THE LAMAR
  COMPANY, L.L.C., LAMAR TEXAS
  LIMITED PARTNERSHIP, LIGHTING
  TECHNOLOGIES, INC., AND IRVIN
  INTERNATIONAL, INC.                               Civil Action No. 2:16-cv-374-JRG-RSP

                        Defendants.                 JURY TRIAL REQUESTED


  LAMAR ADVERTISING COMPANY,
  LAMAR MEDIA CORP., THE LAMAR
  COMPANY, L.L.C., LAMAR TEXAS
  LIMITED PARTNERSHIP, LIGHTING
  TECHNOLOGIES, INC., AND IRVIN
  INTERNATIONAL, INC.

                        Counterclaim Plaintiffs,

  v.

  ULTRAVISION TECHNOLOGIES, LLC

                        Counterclaim Defendant.


                           JOINT CLAIM CONSTRUCTION CHART

         In accordance with Patent Rule 4-5(d) and the Court’s Docket Control Order, the parties

  hereby submit this Joint Claim Construction Chart. Attached as Exhibit A is a chart with the

  disputed terms bolded in the claim language of the asserted claims. Attached as Exhibit B is a

  chart with the parties’ proposed constructions for the disputed terms.



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  DATED: March 28, 2017

  Respectfully submitted,                       /s/ Jennifer H. Doan (with permission)
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                                  CERTIFICATE OF SERVICE

         I certify that on the 28th day of March, 2017, I electronically filed the foregoing with the
  Clerk of the Court and the same has been served on all counsel of record who are deemed to
  have consented to electronic service via the Court’s CM/ECF system per Local Rule CV-5(a)(3).

                                                               /s/ Samuel F. Baxter
                                                               Samuel F. Baxter




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